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                  EXHIBIT 7
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 1          UNITED STATES DISTRICT COURT

 2          F O R T H E W E S T E R N D I S TR I C T O F N E W Y O R K

 3          ---------------------------------------------

 4          BLACK LOVE RESISTS IN THE RUST, et al.,
            individually and on behalf of a class of
 5          a l l o t h e r s s i mi l a r l y s i t u a t e d ,

 6                                                    Plaintiffs,

 7           -vs-                                                 1:18-cv-00719-CCR

 8          CITY OF BUFFALO, N.Y., et al.,

 9                                                    Defendants.
             - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - -
10

11                                    CONTINUED

12              ORAL EXAMINATION OF DANIEL DERENDA

13                        APPEARING REMOTELY FROM

14                            BUFFALO, NEW YORK

15

16

17                            December 23rd, 2021

18                            At 9:20 a.m.

19                            Pursuant to notice

20

21          REPORTED BY:

22          Rebecca L. DiBello, RPR, CSR(NY)

23          APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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 1          R E M O T E        A P P E A R A N C E S

 2          APPEARING FOR THE PLAINTIFFS:

 3                             NATIONAL CENTER FOR LAW AND
                               ECONOMIC JUSTICE
 4                             BY:  CLAUDIA WILNER, ESQ.,
                               275 Seventh Avenue, Suite 1506
 5                             New York, New York 10001
                               (212) 633-6967
 6
                               CENTER FOR CONSTITUTIONAL RIGHTS
 7                             B Y : A. C H I N Y E R E E Z I E , E S Q .
                               666 Broadway, 7th Floor
 8                             New York, New York 10012
                               (212) 614-6475
 9
            APPEARING FOR THE DEFENDANTS:
10
                               CITY OF BUFFALO LAW
11                             DEPARTMENT
                               BY: ROBERT E. QUINN,
12                             A S S I S T A N T C O R P O R AT I O N C O U N S E L
                               1100 City Hall
13                             65 Niagara Square
                               Buffalo, New York 14202
14                             (716) 851-4326

15

16          ALSO PRESENT:

17                  KARINA TEFFT, ESQ.,
                    ANJANA  MALHOTRA, ESQ.,
18                  National Center for Law and Economic
                    Justice
19
20

21

22

23




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 1      Q. W o u l d i t s u r p r i s e y o u t h at A r e a s 2 , 3 , 5 a n d 6

 2           are all more than 90 percent black?

 3      A. I d o n ' t k n o w .      Again, I don't know what areas

 4           you're speaking of.

 5      Q. M a y b e w e s h o u l d g o b a c k a n d l o o k a t t h e s e

 6           maps.

 7      A. W e c a n t a k e y o u r w o r d f o r i t .

 8      Q. O k a y .     Does it surprise you that Areas 1 and 4

 9           are more than 80 percent black?

10      A. C e r t a i n a r e a s h a v e d i f f e r e n t d e m o g r a p h i c s t h a n

11           others.        It doesn't surprise me that an area

12           would be 80 percent African-American or not.

13      Q. S o y o u o r d e r e d m o r e t h a n 8 0 p e r c e n t o f

14           checkpoints to take place in Areas 1

15           through 9?

16      A. W h a t I w o u l d o r d e r t h e S t r i k e F o r c e t o b e i n a

17           c e r t a i n a r e a a n d p er f o r m t h o s e c h e c k p o i n t s i n

18           that area is what they would usually do based

19           on current events, based on crime trends,

20           based on what was going on that particular

21           moment in time.

22      Q. B u t t h e f a c t i s t h a t b a s ed - - t h e f a c t i s t h a t

23           more than 80 percent of the time this was




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 1          occurring in Areas 1 through 9 which are

 2          heavily majority black neighborhoods, right?

 3                    MR. QUINN:          Form.

 4      A. T h e y w e r e m o s t l y a s s i g n e d t o a r e a s w h e r e

 5          things were going on so, again, I can't speak

 6          to the demographics of the population but,

 7          again, wherever the crime was, whatever

 8          reason, crime pattern, whatever, whatever it

 9          was, whether it was a series of shootings or

10          burglaries or what have you, that's where

11          Strike Force was assigned for those reasons

12          and they would predominantly do the

13          checkpoints within those areas that they were

14          assigned.

15                    At times there would be other areas they

16          would go do checkpoints, too, but I can't tell

17          you exactly why they were in a specific area

18          at a given point 10 years later.

19      Q. A c c o r d i n g t o t h e n u m b e r s t h a t a r e r e f l e c t e d o n

20          t h i s c h a r t , m o r e t ha n 6 0 p e r c e n t o f t h e

21          checkpoints were just in Areas 1 through 4.

22      A. T h e n t h e y w e r e t h e r e f o r a r e a s o n .

23      Q. B u t y o u d o n ' t d i s p u t e t h a t d u r i n g t h i s t i m e




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